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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                 PORTLAND DIVISION

NORTHWEST CENTER FOR                                            No. 3:20-cv-01816
ALTERNATIVES TO PESTICIDES,
WILLAMETTE RIVERKEEPER,                        STANDING DECLARATION OF
CASCADIA WILDLANDS, NEIGHBORS                  KRISTIN TEIGEN, NEIGHBORS
FOR CLEAN AIR, AND 350PDX,                     FOR CLEAN AIR MEMBER

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                                           Plaintiffs,
           vs.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; CHAD WOLF, in his capacity
 as Acting Secretary, U.S. Department of
 Homeland Security,
                                  Defendants.
I, KRISTIN TEIGEN, declare and state as follows:
       1.          I am over the age of 18. I make this declaration based on my own personal
knowledge, and if called as a witness, I could and would competently testify to the facts herein
under oath. As to matters which may reflect a matter of opinion, they reflect my personal
opinion and judgment based on my personal experience.
       2.          I live and work in Portland as a post-secondary educator as well as a
communications and development professional. I have two children and a spouse.
       3.          I have also been on Neighbors for Clean Air’s development and communications
staff since early 2020.
       4.          Neighbors for Clean Air advocates for better air quality in Oregon with an
emphasis on public health, and empowers Oregonians with information and tools to ensure
everyone breathes clean air. Neighbors for Clean Air’s mission and work is very important to me
because I am raising children and building a future here in Portland, and I want our community
to be as healthy as possible.
       5.          I participate in anti-racist, anti-oppression actions throughout our state. Since the
age of 18, I’ve long participated in direct action. In all of that time, I have never experienced
anything like the health impacts I did this summer from protests in Portland.
       6.          Beginning on May 29th, 2020 in the wake of George Floyd's death, I participated
in several protests supporting Black Lives Matter. I attended one protest with my 18 year
old son.
       7.          Starting on July 19, I began regularly attending protests to denounce the presence
of federal troops in Portland. I attended four protests throughout July and August.

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       8.      On July 20th, the residual effect of the tear gas federal agents used at the protest
affected me and I had a series of asthma attacks.
       9.      On July 23rd, I experienced both the residual effects during a very windy night, as
well as being on the two blocks away from the protests when the tear gassing began. On the 24th,
I experienced menstrual spotting, out of keeping with my regular cycle.
       10.     On August 2nd and 4th, I also experienced residual tear gas while standing in the
midst of the protests.
       11.     Since that time, I experienced highly irregular menstruation. In August, my period
was unusually very heavy and painful. In September, I had two periods, both of which were
extremely heavy and unusual. They were the most painful menstrual cycles that I’ve had in my
life. I also have never had two periods in one month before.
       12.     On October 6th, I had a medical appointment, during which I was prescribed a
narcotic painkiller and a hormone to re-regulate my periods and assist with the ongoing
menstrual pain. I continue to experience cramping off and on even though I am no longer having
my period.
       13.     I am unclear what type of gas I was exposed to, or the extent to which and
quantity to which I was exposed to residual tear gas while peacefully protesting in areas where
the federal agents were nearby.
       14.     At no point was it my intent to be subjected to tear gas. I believe that the lack of
information and analysis by the federal government about the repeated use of tear gas and
other aerosols created conditions in which numerous adverse human health impacts, including
my own, were able to occur and continue to occur.
       15.     I rely on Neighbors for Clean Air to protect my interests, and support their
participation in this lawsuit to obtain information and analysis from the federal agency
responsible for using tear gas and other chemicals on the public. Without Neighbors for Clean
Air pursuing this action on my behalf, I will remain without information and knowledge of
what caused my adverse health reactions that continue to this day.

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       16.     If Neighbors for Clean Air is successful in their NEPA lawsuit, I and other
members of the public will learn what we have been subjected to, and the health effects of those
chemicals.
       17.     I intend to continue attending protests. I worry that I may be exposed to more
chemicals,
and I hope that Neighbors for Clean Air’s actions here will push for transparency so we all
understand the risks federal agents’ use of tear gas and other chemicals pose to us.
       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.
       Executed this 16th day of October, 2020.




                                             Kristin Teigen




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